     Case 2:13-cr-00096-RHW                 ECF No. 672    filed 03/05/14   PageID.2703 Page 1 of 1



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 5                               UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF WASHINGTON

 7    UNITED STATES OF AMERICA,
 8                        Plaintiff,                         No. CR-13-096-RHW-9
 9                v.
                                                             ORDER GRANTING JOINT
10    STEVEN EDWIN BRONOWSKI,                                MOTION TO AMEND JUDGMENT
                                                             AND SENTENCE
11                       Defendant.
12
13            Before the Court is the parties’ Joint Motion to Amend Judgment and

14   Sentence, ECF No. 663. The motion was heard without oral argument and on an

15   expedited basis.

16            The parties asks the Court to amend the judgment and sentence to

17   specifically state that Defendant is to receive credit for time served from July 11,

18   2013 to October 24, 2013. The Court finds good cause to grant the motion.

19            Accordingly, IT IS ORDERED:

20            1. The parties’ Joint Motion to Amend Judgment and Sentence, ECF No.

21   663, is GRANTED.

22            The District Court Executive is directed to enter this order and provide

23   copies to counsel.

24            DATED this 5th day of March, 2014.

25
26                                              s/Robert H. Whaley
                                             ROBERT H. WHALEY
27                                          United States District Judge
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     ORDER GRANTING JOINT MOTION TO AMEND JUDGMENT AND
     SENTENCE ~ 1
